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UNITED sTATES DISTRICT coURT
soUTHERN DISTRICT oF TEXAS FEB 1 4 2018
McALLEN DIVISION
Psvi¢ J- 13de clark
UNITED STATES oF AMERICA §
. §
v. § CriminalNo. M-]B~OZ'I'}
§
,HII)ALI'_r cRUz-GO§ZALEZ §
§
SEALED INDICTMENT
THE GRAND JURY CHARGES=
Count One

On or about May 2, 2017, in the Southern District of Texas and within the jurisdiction of

the Court, defendants,
HIDALIT CRUZ-GONZALEZ
and

did knowingly and intentionallv conspire and agree together and With other persons known and
unknown to the Grand Jurors, _to possess with intent to distribute a controlled substance The
controlled substance involved was 5 kilograms or more of a mixture or substance containing a
detectable amount of cocaine, a Schedule II controlled substance.

In violation of Title 21, United States Code, Sections 846, 84l(a)(1), and 84l(b)(l)(A).

d Count Two

On or about May 2, 2017, in the Southern District of Texas and Within the jurisdiction of

the Court, defendants,

HIDALIT CRUZ-GONZALEZ
and

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did knowingly and intentionally possess with intent to distribute a controlled substance The
controlled substance involved was 5 kilograms or more, that is, approximately 146.8 kilograms of
a mixture or substance containing a detectable amount of cocaine, a Schedule II controlled
substance 4

In violation of Title 21, United States Code, Sections 84l(a)(1) and 841 (b)(l)(A) and Title
18, United States Code, Section 2.

A TRUE BILL

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RYAN K. PATRICK
UNITED STATES ATTORNEY

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ASSISTANT UNITED STATES ATTORNEY

